626 F.2d 1200
    CASTLEWOOD INTERNATIONAL CORPORATION, a Florida Corporation,Plaintiff- Appellant,v.G. William MILLER, as Secretary of the Treasury of theUnited States, and Rex Davis, as Director of theBureau of Alcohol, Tobacco and Firearms,Defendants-Appellees.
    No. 75-4445.
    United States Court of Appeals,Fifth Circuit.
    Oct. 1, 1980.
    
      Tobias Simon, Elizabeth duFresne, Miami, Fla., for plaintiff-appellant.
      Robert W. Rust, U.S. Atty., Patricia Jean Kyle, Asst. U.S. Atty., Miami, Fla., Ronald E. Williams, Atty., Dallas, Tex., Bradley A. Buckles, Atty., Bureau of Alcohol, Tobacco &amp; Firearms, Washington, D.C., for defendants-appellees.
      Appeal from the United States District Court for the Southern District of Florida.
      ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
      Before THORNBERRY, GODBOLD and FAY, Circuit Judges.
      PER CURIAM:
    
    
      1
      On May 19, 1980, --- U.S. ----, 100 S.Ct. 2914, 66 L.Ed.2d 806 the Supreme Court of the United States vacated our opinion, 596 F.2d 638 (5th Cir. 1979), and remanded this case to us for further consideration in light of California Retail Liquor Dealers Assn. v. Midcal Aluminum Inc., 445 U.S. 97, 100 S.Ct. 937, 63 L.Ed.2d 233 (1980).
    
    
      2
      In discussing the difficulty involved in balancing federal and state powers and interests, the Supreme Court stated in Midcal,
    
    
      3
      These decisions demonstrate that there is no bright line between federal and state powers over liquor.  The Twenty-first Amendment grants the States virtually complete control over whether to permit importation or sale of liquor and how to structure the liquor distribution system.  Although States retain substantial discretion to establish other liquor regulations, those controls may be subject to the federal commerce power in appropriate situations. The competing state and federal interests can be reconciled only after careful scrutiny of those concerns in a "concrete case."  Hostetter v. Idlewild Liquor Corp., 377 U.S. at 332, 84 S.Ct. at 1298, 12 L.Ed.2d 350.
    
    
      4
      --- U.S. at ----, 100 S.Ct. at 946.
    
    
      5
      In accord with the directions of the Supreme Court, we have reviewed this matter again.  We conclude that no federal interests of sufficient magnitude exist in support of ATF Ruling 74-6 to outweigh the state interests as reflected in Florida Statute § 561.42(6).  In other words, in balancing the conflicting state and federal interests under Midcal, we find the balance in favor of the state.
    
    
      6
      The panel opinion is reinstated and the holding of the district court REVERSED.
    
    